          Case 2:17-cr-00003-RAJ         Document 18       Filed 12/27/16      Page 1 of 3




01

02

03

04

05                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
06                                    AT SEATTLE

07 UNITED STATES OF AMERICA,              )           CASE NO. MJ 16-540
                                          )
08         Plaintiff,                     )
                                          )
09         v.                             )           DETENTION ORDER
                                          )
10   LUIS VENANCIO CUETO-RUIZ,            )
                                          )
11         Defendant.                     )
     ____________________________________ )
12

13 Offense Charged: Possession of heroin, cocaine and methamphetamine, with intent to

14 distribute, including one kilo or more of a mixture or substance containing cocaine.

15 Date of Detention Hearing:     December 27, 2016.

16         The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth,

18 finds that no condition or combination of conditions which defendant can meet will

19 reasonably assure the safety of other persons and the community.

20         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21      (1) The Complaint alleges that defendant, and the co-defendant, possessed with intent to

22         distribute, 3.5 kilos of cocaine, 7 pounds of heroin, and 10 pounds of



     DETENTION ORDER
     PAGE -1
         Case 2:17-cr-00003-RAJ          Document 18        Filed 12/27/16     Page 2 of 3




01        methamphetamine; and that an additional 10 kilos of cocaine was recovered from a

02        cooler in their possession.

03     (2) Once probable cause is established, by the return of an indictment, or at a preliminary

04        hearing, there will be a rebuttable presumption of detention.

05     (3) The complaint further alleges that, in negotiating for the sale of these controlled

06        substances, defendant told the undercover agent, and the confidential source also

07        involved in the negotiations, that he was working for a powerful Mexican drug cartel;

08        and that if something went wrong with the deal, these people would cut off the heads

09        of both of them.

10     (4) Defendant also allegedly negotiated with the undercover agent to purchase 60 to 100

11        firearms, to be delivered at the U.S. Mexico border.

12     (5) Defendant is alleged to be a citizen of Mexico, and to be present in this country

13        illegally.   Immigration and Customs Enforcement (“ICE”) has lodged a detainer

14        against him. Defendant has no known legitimate ties to this area or to the United

15        States.

16     (6) Defendant declined to be interviewed by this court’s Pretrial Services Officer.

17     (7) Defendant and his counsel offered nothing in opposition to the entry of a Detention

18        Order.

19 It is therefore ORDERED:

20      (1) Defendant shall be detained pending trial and committed to the custody of the

21         Attorney General for confinement in a correction facility separate, to the extent

22         practicable, from persons awaiting or serving sentences or being held in custody



     DETENTION ORDER
     PAGE -2
         Case 2:17-cr-00003-RAJ          Document 18        Filed 12/27/16      Page 3 of 3




01         pending appeal;

02      (2) Defendant shall be afforded reasonable opportunity for private consultation with

03         counsel;

04      (3) On order of the United States or on request of an attorney for the Government, the

05         person in charge of the corrections facility in which defendant is confined shall

06         deliver the defendant to a United States Marshal for the purpose of an appearance in

07         connection with a court proceeding;

08      (4) The Clerk shall direct copies of this Order to counsel for the United States, to counsel

09         for the defendant, to the United States Marshal, and to the United States Probation

10         Officer.

11        DATED this 27th day of December, 2016.

12                                               /s/John L. Weinberg
                                                 United States Magistrate Judge
13

14

15

16

17

18

19

20

21

22



     DETENTION ORDER
     PAGE -3
